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                                    UNITED STATES DISTRICT COURT

                                             DISTRICT OF NEVADA




United States of America,


                       Plaintiff-Appellee,                         District No.       2:99-cr-00309-KJD
vs.

                                                                   U.S.C.A. No.       18-17355
Atef Salami Nemer Hirchedd,


                       Defendant-Appellant.


                                              ORDER ON MANDATE

         The above-entitled cause having been before the United States Court of Appeals for the Ninth Circuit,

and the Court of Appeals having on 5/31/2019 , issued its mandate that the appeal(s) is/are DISMISSED.

The Court being fully advised in the premises, NOW, THEREFORE, IT IS ORDERED that the mandate be spread

upon the records of this Court.


            5th
Dated this _______day       June
                      of______________________, 2019.




                                                       Kent J. Dawson
                                                       United States District Judge
